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5
     Attorney for Plaintiff

6
                            IN THE UNITED STATES DISTRICT COURT
7
                                FOR THE DISTRICT OF ARIZONA
8
     Keith Raniere,
9
10            Plaintiff,                           Case No. 4:22-cv-00212-RCC-PSOT

11   v.
12
     Merrick Garland, et al.,                      MOTION FOR LEAVE TO SERVE
13                                                 COMPLAINT ON
              Defendants.                          GOVERNMENTAL DEFENDANTS
14
15
16

17                                          BACKGROUND
18
            On May 5, 2022, Plaintiff filed the underlying complaint, asserting exclusively
19
     prospective injunctive and declaratory relief to compel prison officials at the U.S.
20
21   Penitentiary in Tucson to permit Plaintiff ongoing access to and communication with his
22   criminal defense attorneys, as required by the First and Sixth Amendments.
23
            Because Plaintiff is currently incarcerated, the provisions of the Prison Litigation
24
     Reform Act (“PRLA”) apply to this matter, including the requirement that this Court “review
25
26   . . . as soon as practicable after docketing, a complaint in a civil action in which a prisoner




                                                     1
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1    seeks redress from a governmental entity or officer or employee of a governmental entity.”
2
     28 U.S.C. § 1915A(a). The PRLA is clear that no governmental defendants are required to
3
     answer a prisoner complaint until after the Court has had the opportunity to conduct its
4

5    screening obligation. “[U]nlike in the typical civil case, defendants do not have to respond to

6    a complaint covered by the PLRA until required to do so by the court” and failing to respond
7    before court screening “does not constitute an admission of the allegations in the complaint.”
8
     Jones v. Bock, 549 U.S. 199, 213–14 (2007).
9
10
            This screening requirement, designed to “help staunch a flood of nonmeritorious

11   prisoner litigation,” Lomax v. Ortiz-Marquez, 140 S. Ct. 1721, 1723 (2020), is in tension
12   with the longstanding sentiment that “[i]n our adversary system, ex parte motions
13
     are disfavored.” Ayestas v. Davis, 138 S. Ct. 1080 (2018). Recognizing this, Plaintiff is
14
     preparing to file with this Court a motion for preliminary injunction – not a motion for an ex
15
16   parte temporary restraining order. A motion for preliminary injunction may be issued “only
17   on notice to the adverse party.” Fed.R.Civ.P. 65(a)(1). And notice is typically achieved
18
     through the procedures of Rule 4. Prisoner plaintiffs seeking exclusively prospective relief,
19
     however, are caught in a bind between the PRLA’s instruction that a Defendant not be
20
21   required to respond prior to screening and the urgency that is inherent in a request for
22   preliminary injunctive relief. After all, a motion for preliminary injunctive relief involves
23
     allegations of imminent irreparable harm.
24
            While the PRLA is clear that defendants need not prepare responsive pleadings prior
25
26   to screening, the statute is unclear whether a prisoner Plaintiff – should he wish to do so –




                                                     2
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1    may serve the summons and complaint prior to PRLA screening. Undersigned counsel is
2
     aware of only one unpublished decision within the Ninth Circuit to address whether a
3
     prisoner Plaintiff may be proactive by serving the complaint before screening. That court
4

5    suggested, in dicta, that a prisoner plaintiff who had promptly served his complaint had done

6    so prematurely “where it had not yet been screened by the Court.” Rodriguez v. Ryan, 2012
7    WL 12538556, at *1 (D. Ariz. Jan. 27, 2012). That Court, however, had allowed the
8
     complaint to proceed and allowed the governmental defendants to respond to the complaint
9
10
     within the time allowed under Rule 12(a), measured from the date of the Court’s screening

11   order.
12            Due to this uncertainty in the law, Plaintiff files this motion for leave to serve his
13
     complaint on all Defendants, so that they may have timely notice of Plaintiff’s allegations
14
     and an opportunity to respond to Plaintiff’s forthcoming motion for preliminary injunction,
15
16   which Plaintiff intends to file in the coming days.
17                                              ARGUMENT
18
              The PRLA was enacted by Congress in 1996, imposing – among other things – its
19
     requirement that U.S. District courts sua sponte screen all civil complaints filed by prisoners.
20
21   Hundreds of years prior to the enactment of the PRLA, our legal system developed the
22   carefully-balanced rights of civil litigants to seek and defend against urgent requests for
23
     injunctive relief. On the one side lies the party who alleges that he is at imminent risk of
24
     suffering irreparable harm. On the other side is the party who may face a sudden, unexpected
25
26   court order requiring them to take action or refrain from taking action.




                                                       3
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1             The Supreme Court has noted that “the screening requirement [of the PRLA] does
2
     not-explicitly or implicitly-justify deviating from the usual procedural practice beyond the
3
     departures specified by the PLRA itself.” Jones v. Bock, 549 U.S. 199, 200 (2007). The
4

5    requirement of Rule 65 that preliminary injunctions be issued “only on notice to the adverse

6    party” is precisely the type of procedural practice that PRLA did not alter or change. “While
7    a later enacted statute . . . can sometimes operate to amend or even repeal an earlier statutory
8
     provision” such repeals by implication “are not favored and will not be presumed unless the
9
10
     intention of the legislature to repeal is clear and manifest.” Nat'l Ass'n of Home Builders v.

11   Defs. of Wildlife, 551 U.S. 644, 662 (2007) (internal citations omitted). Here, the
12   requirements of Rule 65 pre-dated the later-enacted PRLA. The PRLA, for its part, is silent
13
     as to what Courts are to do when confronted with a Plaintiff alleging irreparable harm and
14
     seeking quick action and who eagerly seeks to provide adequate Rule 4 notice to the adverse
15
16   party.
17                                           CONCLUSION
18
              For the foregoing reasons, Plaintiff seeks leave to promptly serve his Complaint on all
19
     Defendants, prior to the Court screening that is mandated by 28 U.S.C. § 1915A. In seeking
20
21   leave, Plaintiff acknowledges that Defendants will not be required to file a responsive
22   pleading to the Complaint until after this Court has had the opportunity to screen the
23
     Complaint. As such, Plaintiff understands that there is no default by Defendants, in the event
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     that they do not file responsive pleadings within 21 days of service of the summons and
25
26   complaint.




                                                     4
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1    Respectfully submitted this 6th day of May 2022.
2
3    /s Stacy Scheff______
     Stacy Scheff #028364
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5
     P.O. Box 40611
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7    Attorney for Plaintiff
8
9                                  CERTIFICATE OF SERVICE
10
            I, Stacy Scheff, hereby certify that I have caused the above MOTION FOR LEAVE
11
     TO SERVE COMPLAINT ON GOVERNMENTAL DEFENDANTS, to be filed using the
12
13   EM/ECF system. At this time, Defendants have not been served with the summons and

14   complaint and they have not entered an appearance in this matter, but undersigned counsel
15
     intends to serve this document – along with all other filings to date in this matter – when
16
     given authorization to serve through Rule 4.
17
18

19          This 6th day of May, 2022
20
            /s Stacy Scheff ______
21
22
23
24
25
26




                                                    5
